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 1
                                                               Honorable Ricardo S. Martinez
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 8                                  UNITED STATES DISTRICT COURT
 9                                 WESTERN DISTRICT OF WASHINGTON
                                             AT SEATTLE
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11    CHERYL ENSTAD et al.,                                No. 2:17−cv−01496−RSM
12                                                         ORDER RE: STIPULATED MOTION TO
                     Plaintiffs,                           STAY PROCEEDINGS FOR ADDITIONAL
13                                                         30 DAYS
             vs.
14

15    PEACEHEALTH,
16                   Defendant.
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            THIS MATTER having come before the Court on the Stipulated Motion of Defendant
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     PeaceHealth (“PeaceHealth”), through counsel, and Plaintiffs Cheryl and Pax Enstad
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     (“Plaintiffs”), through counsel, to stay proceedings in this action, the Court having considered the
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     Stipulated Motion, and finding good cause therefore, it is therefore:
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24
            ORDERED that:
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            1.      The existing stay of all proceedings in this action shall continue for an additional
26
     30 days through and including October 23, 2018.
27
            2.      The parties shall file an update with the Court regarding the status of the parties’
28
      ORDER RE: STIPULATED MOTION TO STAY                                    M ANATT , P HELPS & P HILLIPS , LLP
                                                                                   11355 WEST OLYMPIC BLVD .
      PROCEEDINGS FOR ADDITIONAL 30 DAYS               1                               L OS A NGELES , CA 90064
      No. 2:17−cv−01496−RSM                                                                       310-312-4000
       Case 2:17-cv-01496-RSM Document 42 Filed 09/24/18 Page 2 of 2



 1   settlement negotiations on or before October 23, 2018 unless the case has been settled and
 2   dismissed before that date.
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     Dated this 24 day of September 2018.
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                                                 A
                                                 RICARDO S. MARTINEZ
                                                 CHIEF UNITED STATES DISTRICT JUDGE
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     Presented by:
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10
     /s/Craig S. Rutenberg
11   Craig S. Rutenberg
     MANATT PHELPS & PHILLIPS, LLP
12   Attorneys for Defendant
     PEACEHEALTH
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      ORDER RE: STIPULATED MOTION TO STAY                                 M ANATT , P HELPS & P HILLIPS , LLP
                                                                                11355 WEST OLYMPIC BLVD .
      PROCEEDINGS FOR ADDITIONAL 30 DAYS             2                              L OS A NGELES , CA 90064
      No. 2:17−cv−01496−RSM                                                                    310-312-4000
